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                    6    Specially Appearing For Third Party
                         KING & SPALDING LLP
                    7

                    8                                     UNITED STATES DISTRICT COURT
                    9                               NORTHERN DISTRICT OF CALIFORNIA
                  10                                           OAKLAND DIVISION
                  11

                  12     WHATSAPP INC., a Delaware                         Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  13     Delaware corporation,                             [PROPOSED] ORDER DENYING
                                                                           WHATSAPP'S MOTION TO
                  14                        Plaintiffs,                    DISQUALIFY

                  15     v.                                                Date:               June ___, 2020
                                                                           Time:               9:00 a.m.
                  16     NSO GROUP TECHNOLOGIES                            Courtroom:          3, Third Floor
                         LIMITED and Q CYBER                               Judge:              Hon. Phyllis J. Hamilton
                  17     TECHNOLOGIES LIMITED,

                  18                        Defendants.

                  19
                                 Before the Court is WhatsApp's Motion to Disqualify Defense Counsel Based on Prior
                  20
                         Representation in a Sealed Matter. Having considered the parties papers filed in connection with
                  21
                         the motion, and all other matters properly considered by this Court, the Court finds that there is
                  22
                         no basis to disqualify King & Spalding.
                  23
                                 Accordingly, WhatsApp's Motion to Disqualify is DENIED.
                  24
                                 IT IS SO ORDERED.
                  25
                         Dated: May ___, 2020.
                  26

                  27

                  28                                                   HON. PHYLLIS J. HAMILTON
LONG & LEVIT LLP                                                                         [PROPOSED] ORDER DENYING MOTION TO
465 CALIFORNIA STREET,
      5TH FLOOR                                                                                                   DISQUALIFY
    SAN FRANCISCO,                                                                                            4:19-cv-07123-PJH
   CALIFORNIA 94104
